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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )       Case No. 09-20133-06-JWL
                                                  )
MECHIEEN McDOWELL (06),                           )
                                                  )
                     Defendant.                   )
                                                  )



                         MEMORANDUM AND ORDER

       On March 21, 2011, defendant Mechieen McDowell pled guilty subject to a

written plea agreement to felony money laundering (docs 792, 795). She received a 108

month sentence on September 1, 2011. She did not file a direct appeal.

       This matter comes before the court on Ms. McDowel’s Motion to Appoint

Counsel (doc. 1495). For the reasons set forth below, this motion is denied.

                                      ANALYSIS

       Ms. McDowell asks the court to appoint an attorney to assist with her motion to

vacate, correct, or set aside her conviction pursuant to 28 U.S.C. § 2255. There is,

however, no constitutional right to counsel beyond the direct appeal of a conviction.

Swazo v. Wyo. Dep’t of Corrs., 23 F.3d 332, 333 (10th Cir. 1994). “[T]he right to

appointed counsel extends to the first appeal of right, and no further.” Pennsylvania v.

Finley, 481 U.S. 551, 555 (1987). The court has the discretionary ability to appoint
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counsel under 18 U.S.C. § 3006A(a)(2)(B), unless the matter requires an evidentiary

hearing.

      Here, Ms. McDowell does not have a § 2255 petition pending at this time. As

such, the court has no basis to grant the defendant appointment of counsel under §

3006A(a)(2)(B).



      IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

to Appoint Counsel (doc. 1495) is denied.




      IT IS SO ORDERED this 15th day of May, 2012.


                                 s/ John W. Lungstrum
                                 John W. Lungstrum
                                 United States District Judge




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